       Case
     Case    3:23-cv-00782-YY Document
          2:16-md-02740-KDE-MBN        6-8 611
                                  Document  FiledFiled
                                                  05/22/23   Page
                                                       07/06/17   1 of 121of 1
                                                                Page



                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

 In Re: TAXOTERE (DOCETAXEL)                                    MDL NO. 2740
        PRODUCTS LIABILITY
        LITIGATION
                                                                SECTION “N” (5)
 THIS DOCUMENT RELATES TO:
 ALL CASES                                                      Hon. Kurt D. Engelhardt

                                                                Hon. Michael B. North



                                 PRETRIAL ORDER NO. 49

                        [Electronically Stored Information Protocol]

       THE COURT being fully advised on the matter, hereby GRANTS Plaintiffs’ Co-Liaison

Counsel’s and Co-Defendants’ Liaison Counsel’s Consent Motion to adopt the Electronically

Stored Information Protocol as Pretrial Order No. 49.

       IT IS ORDERED that the Electronically Stored Information Protocol Order attached

hereto be adopted and govern the MDL.

                                     5th day of July, 2017.
       New Orleans, Louisiana, this ____




                                                MICHAEL B. NORTH
                                     UNITED STATES DISTRICT MAGISTRATE JUDGE
     CaseCase 3:23-cv-00782-YY Document
          2:16-md-02740-KDE-MBN         6-8611-1
                                 Document    Filed Filed
                                           577-1   05/22/23    PagePage
                                                         06/23/17
                                                         07/06/17   2 of 21
                                                                         2 of 20
                                                                         1    21




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA




                                                          MDL DOCKET NO. 2740

In Re: TAXOTERE (DOCETAXEL)                               SECTION “N” (5)MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION                                         HON. KURT D. ENGELHARDT

                                                          HON. MICHAEL B. NORTH




                               ESI PROTOCOL
                     THIS DOCUMENT RELATES TO ALL CASES

Requesting Party and Producing Party, by and through undersigned counsel, have conferred
regarding the production of electronically stored information (“ESI”) in their possession,
custody, or control, agree to the following, and respectfully move the Court to enter an Order
approving the same.

I.      GENERAL

        A.    As used herein, “Requesting Party” means the party requesting production of
              documents. As used herein, “Producing Party” means the party that may be
              producing documents in response to the request of requesting party. As used
              herein, the words “Party” or “Parties” include the Requesting Party and the
              Producing Party.

        B.    This Protocol applies to the ESI provisions of Fed. R. Civ. P. 16, 26, 33, 34, and
              37. Insofar as it relates to ESI, this Protocol also applies to Fed. R. Civ. P. 45, if
              agreed to by the recipient of any document request issued pursuant to that rule, in
              all instances in which the provisions of Fed R. Civ. P. 45 are the same as, or
              substantially similar to, the provisions of Fed. R. Civ. P. 16, 26, 33, 34, and 37.
              Nothing contained herein modifies Fed. R. Civ. P. 45 and, specifically, the

                                                1
       CaseCase 3:23-cv-00782-YY Document
            2:16-md-02740-KDE-MBN         6-8611-1
                                   Document    Filed Filed
                                             577-1   05/22/23    PagePage
                                                           06/23/17
                                                           07/06/17   3 of 21
                                                                           3 of 20
                                                                           2    21




                 provision of Rule 45(d)(2)(B) regarding the effect of a written objection to
                 inspection or copying of any or all of the designated materials or premises.

          C.     The Parties agree that this Protocol will serve as a guideline for any document
                 request issued to a Producing Party in this matter. The Parties shall meet and
                 confer regarding the appropriateness of this Protocol with respect to any
                 document requests to a Producing Party. Nothing in this Protocol shall be deemed
                 to prevent any Parties from agreeing to terms different than or inconsistent with
                 the terms of this Protocol.

          D.     Nothing in this protocol shall be deemed to constitute a waiver of any objections a
                 Producing Party may have with respect to any document request.

          E.     Nothing in this Protocol shall be deemed to prevent a Party from seeking the
                 Court’s intervention with respect to any issues that may arise regarding the
                 application of this Protocol to a document request issued to Producing Party
                 and/or any objections Producing Party may have with respect to any such
                 subpoena if the Parties are unable to resolve any such issues or objections without
                 the Court’s assistance. Likewise, nothing in this Protocol shall be deemed to
                 prevent any other Party from opposing relief sought from the Court.

II.       COOPERATION

The Parties are aware of the importance the Court places on cooperation and commit to
cooperate in good faith throughout the matter consistent with this Court’s E-discovery
Guidelines. In particular, Guideline 2.03 states:

          The Court strongly encourages an informal discussion about the discovery of ESI
          at the earliest reasonable state of the discovery process. Counsel, or others
          knowledgeable about the Parties’ electronic systems, including how potentially
          relevant data is stored and retrieved, should be involved or made available as
          necessary. Such a discussion will help the Parties be more efficient in framing
          and responding to ESI discovery issues, reduce costs, and assist the Parties and
          the Court in the event of a dispute involving ESI issues.

III.      E-DISCOVERY LIAISON

To promote communication and cooperation between the Parties, each Party shall designate an
individual through whom all e-discovery requests and responses are coordinated (“e-discovery
liaison”). Regardless of whether the e-discovery liaison is an attorney (in-house or outside
counsel), a third party consultant, or an employee of the party, he or she must be: (a) Familiar
with the Party’s electronic systems and capabilities in order to explain these systems and answer
relevant questions; (b) Knowledgeable about the technical aspects of e-discovery, including but
                                                  2
      CaseCase 3:23-cv-00782-YY Document
           2:16-md-02740-KDE-MBN         6-8611-1
                                  Document    Filed Filed
                                            577-1   05/22/23    PagePage
                                                          06/23/17
                                                          07/06/17   4 of 21
                                                                          4 of 20
                                                                          3    21




not limited to electronic document storage, organization, and format issues; (c) Prepared to
participate in eDiscovery dispute resolutions; and (d) Responsible for organizing the Party’s
eDiscovery efforts to insure consistency and thoroughness. To that extent:

         Plaintiffs’ Steering Committee’s e-discovery liaison is Genevieve Zimmerman.
         Sanofi’s e-discovery liaison is Patrick Oot.
         Hospira/Pfizer’s e-discovery liaison is Mara Cusker Gonzalez.
         Sandoz’s e-discovery liaison is Beth Toberman.
         Actavis’s e-discovery liaison is Jeff Schaefer.
         Sun’s e-discovery liaison is Kathy Kelly.
         McKesson’s e-discovery liaison is Julie Y. Park.

IV.       SCOPE OF ESI

          A.     This ordered ESI Protocol is consistent with Rule 26(b)(1) and limits the scope of
                 discovery to discovery regarding any non-privileged data that is relevant to any
                 party’s claim or defense and proportional to the needs of the case, considering the
                 importance of the issues at stake in the action, the amount in controversy, the
                 parties’ relative access to relevant information, the parties’ resources, the
                 importance of the discovery in resolving the issues, and whether the burden or
                 expense of the proposed discovery outweighs its likely benefit.

          B.     The Parties agree that Producing Party may redact information relating solely to
                 other products and need not produce other-products attachments. For each other-
                 products attachment not produced, the producing party will provide a slip sheet
                 with the basis for non-production either on the face of the document or in a data
                 field (e.g., other products, privilege).

          C.     Data Sources do not include ESI outside the custody and/or control of the
                 Producing Party.

          D.     Data sources do not include discovery regarding ESI that is not reasonably
                 accessible.

                 1.     One example of not reasonably accessible data includes Orphaned Data;
                        which may include unknown or unindexed orphaned data which could be
                        unknown or unindexed materials retained in tape, floppy disk, optical disk,
                        or similar formats primarily for back-up or disaster recovery purposes as
                        well as archives stored on computer servers, external hard drives,
                        notebooks, or personal computer hard drives that are not used in the
                        ordinary course of a party’s business operations (e.g. archives created for
                        disaster recovery purposes).

                                                  3
CaseCase 3:23-cv-00782-YY Document
     2:16-md-02740-KDE-MBN         6-8611-1
                            Document    Filed Filed
                                      577-1   05/22/23    PagePage
                                                    06/23/17
                                                    07/06/17   5 of 21
                                                                    5 of 20
                                                                    4    21




         2.     Accordingly, the categories of ESI deemed not reasonably accessible or
                outside the scope of permissible discovery need not be preserved by the
                Parties. Parties need not preserve the following categories of ESI for this
                litigation:

                a.     Data stored in a backup system for the purpose of system recovery
                       or information restoration, including but not limited to, disaster
                       recovery backup tapes, continuity of operations systems, data or
                       system mirrors or shadows unless it is the only known source of
                       potentially relevant data;

                b.     Information deemed as junk and/or irrelevant ESI outside the
                       scope of permissible discovery in this or other matters;

                c.     Server, system, or network logs, electronic data temporarily stored
                       by scientific equipment or attached devices;

                d.     Documents collected from custodians that cannot be processed
                       with known or available processing tools;

                e.     ESI sent to or from mobile devices provided a copy of that data is
                       routinely saved elsewhere; and

                f.     Data stored on photocopiers, scanners, and fax machines.

         3.     Nothing in this order shall require a party to preserve data that is routinely
                deleted or over-written in accordance with an established routine records
                management information governance or system maintenance practice.

         4.     Nothing in in this order shall relieve a party from their obligation to
                preserve data sources accessed in the ordinary course of business,
                including disaster recovery media and systems used for archival purposes
                where such data source is the unique source of that data.

   E.    Pursuant to a scheduling order of the Court, the Parties agree to exchange in
         writing the information listed in items (1) through (5) below. The Parties agree
         and understand that their respective responses are based on their knowledge and
         understanding as of the date of the response, and each Party agrees to amend or
         supplement its responses in a timely manner if it learns that in some material
         respect its response is incomplete or incorrect.


                                          4
CaseCase 3:23-cv-00782-YY Document
     2:16-md-02740-KDE-MBN         6-8611-1
                            Document    Filed Filed
                                      577-1   05/22/23    PagePage
                                                    06/23/17
                                                    07/06/17   6 of 21
                                                                    6 of 20
                                                                    5    21




         1.    A list of custodians (including current employees, former employees and
               any other individuals or companies) likely to have discoverable
               information, including job title and a brief description of job
               responsibilities and employment period for each individual to the extent
               that it exists and is reasonably accessible.

         2.    A general description of systems for electronic communications and ESI
               storage (“non-custodial sources”) likely to contain discoverable
               information (e.g. shared network storage and shared electronic work
               spaces). For databases identified, the Producing Party should provide the
               following information (to the extent that it is reasonably available):

                      Database Name
                      Type of Database
                      Software Platform
                      Software Version
                      Business Purpose
                      A list of existing relevant reports used in the ordinary course of
                      business
                      Currently known Database Owner or Administrator’s Name
                      Field List within the scope of permissible discovery

               The Parties will meet and confer to discuss Field Definitions (including
               field type, size and use) for fields within the scope of permissible
               discovery.

         3.    A general description or, at the Producing Party’s option, copies of the
               Party’s operative document retention policies, throughout the relevant
               time period, pertaining to known data within the scope of discovery.

         4.    If unique, non-duplicative ESI within the scope of discovery is lost or
               destroyed after the legal hold obligations have been triggered in this case,
               if known.

         5.    A description of any ESI within the scope of discovery that the Producing
               Party contends is inaccessible or only of limited accessibility and, hence,
               not producible by that Party without undue burden and/or expense,
               including:

               a.     The reasons for the Party’s contention regarding accessibility; and




                                        5
     CaseCase 3:23-cv-00782-YY Document
          2:16-md-02740-KDE-MBN         6-8611-1
                                 Document    Filed Filed
                                           577-1   05/22/23    PagePage
                                                         06/23/17
                                                         07/06/17   7 of 21
                                                                         7 of 20
                                                                         6    21




                     b.      The proposed capture and retrieval process available (if any) for
                             identification and/or recovery of the information deemed
                             inaccessible (including cost estimates if readily available).

        F.    After a reasonable inquiry, the Parties will exchange a suggested list of Sources
              that may be searched depending upon the scope of RFPs and the Producing
              Party’s specific objections to certain requests.

        G.    Nothing in this protocol shall obligate a Party to preserve ESI outside the scope of
              permissible discovery under 26(b)(1).

V.      SEARCH METHODOLOGY

        A.    The Parties have begun, and will continue, to meet-and-confer to discuss and
              attempt to reach an agreement on the appropriate scope and limitations of both
              preservation and production of ESI. The Parties will discuss possible options for
              ensuring an efficient discovery process, such as the possible use of search terms
              or technology assisted review, the possible use of testing and sampling, relevant
              date ranges, possible custodians that may have potentially discoverable
              information, any obstacles to accessing and producing ESI, and the timing of
              productions. This section governs materials that have been collected for
              processing and review.

        B.    The Parties may employ an electronic search to locate relevant electronic
              documents. The Producing Party may use a reasonable electronic search of the
              electronic documents so long as such searches meet the standard of care
              promulgated in FRCP 26(g).

        C.    The Parties recognize the intrinsic value of available tools to expedite review and
              minimize the expenses associated with eDiscovery. These tools include, but are
              not limited to, limiting the scope of the electronic search (through the use of
              search terms, cull terms, time frames, fields, document types, and custodian
              limitations), predictive coding, technology-assisted review (“TAR”), de-
              duplication and near de-duplication, e-mail threading, date restrictions, and
              domain analyses. The Producing Party may deploy these tools and technological
              methodologies to speed up document review, including global de-duplication
              within their own productions, using near de-duplication technology, predictive
              coding and computer assisted review. Producing Parties are best situated to
              evaluate the procedures, methodologies, and technologies appropriate for
              preserving and producing their own electronically stored information.

        D.    The Parties will discuss and attempt to reach an agreement on search
              methodologies with the goal of limiting the scope of review for production,
                                               6
CaseCase 3:23-cv-00782-YY Document
     2:16-md-02740-KDE-MBN         6-8611-1
                            Document    Filed Filed
                                      577-1   05/22/23    PagePage
                                                    06/23/17
                                                    07/06/17   8 of 21
                                                                    8 of 20
                                                                    7    21




         minimizing the need for motion practice, and facilitating production in
         accordance with the deadlines set by the Court or agreed upon by the Parties.
         Agreement on a search methodology does not relieve a Party of its obligations
         under the Federal Rules to conduct a reasonable search and produce all known
         relevant and responsive documents of which it is aware. The Parties agree that
         there may be certain categories of relevant ESI that may not require automated
         searches. Nothing herein waives a Party’s ability to object under Rule 34.

   E.    Keyword Search Terms.

         1.     If used, prior to implementing search terms against collected ESI, the
                Producing Party will provide a list of proposed search terms to the
                Requesting party.

         2.     The Parties will meet and confer regarding any additional terms proposed
                by the Requesting Party.

         3.     If there is no dispute as to the terms, the Producing Party may proceed. If
                the Parties are unable to resolve any disputes over search terms through
                the meet and confer process (which may include statistical sampling of
                disputed terms), the Parties will submit the dispute to the Court in the form
                of a joint discovery letter with a discussion of the relevance and/or burden
                associated with the search terms in dispute.

         4.     The Producing Party agrees to quality check the data for an agreed set of
                custodial documents that do not hit on any terms (the Null Set) by
                selecting a statistically valid random sample of the Null Set. The
                Producing Party agrees to produce the responsive documents from the QC
                review separate and apart from the regular review, if any. The Parties will
                then meet and confer to determine if any additional terms, or
                modifications to existing terms, are needed to ensure substantive,
                responsive documents are not missed.

   F.    Technology Assisted Review.

         1.     If used, prior to using predictive coding/technology-assisted-review for the
                purpose of identifying or culling the documents to be reviewed or
                produced, or deciding not to use such technology, the Producing Party will
                notify the Requesting Party with ample time to meet and confer in good
                faith regarding a mutually agreeable protocol for the use of such
                technologies or alternatives.


                                          7
CaseCase 3:23-cv-00782-YY Document
     2:16-md-02740-KDE-MBN         6-8611-1
                            Document    Filed Filed
                                      577-1   05/22/23    PagePage
                                                    06/23/17
                                                    07/06/17   9 of 21
                                                                    9 of 20
                                                                    8    21




         2.     While no specific benchmarks or stabilization percentages are agreed to by
                the parties undertaking TAR processes, it is agreed that the Producing
                Party has an obligation to make their best efforts to ensure that the process
                meets a Rule 26(g) standard.

   G.    Deficiency Procedure. If the Requesting Party has good cause to believe that a
         Producing Party’s discovery efforts have been deficient, the Parties will meet and
         confer with the goal of identifying a means by which the Producing Party can
         provide assurances of the reasonableness of its discovery efforts.

         1.     As used in this section, “good cause” requires more than mere speculation;
                the Requesting Party must offer some concrete evidence of a deficiency in
                the Producing Party’s discovery process.

         2.     The Parties will consider appropriate means to assess the reasonableness
                of a Producing Party’s discovery efforts, including, but not limited to, one
                or more of the following:

                a.     The Producing Party providing high-level process descriptions
                       demonstrative of the quality controls employed as part of its
                       preservation, collection and review efforts.

                b.     The Producing Party conducting a quality control evaluation of its
                       responsiveness review process.

                c.     If technology-assisted review was employed, the Producing Party
                       providing a description of the protocol used.

                d.     If search terms were used to identify responsive documents, the
                       Producing Party providing the search terms used and considering
                       reasonable requests for additional search terms proposed by the
                       Requesting Party.

                e.     If technology-assisted review was employed, a high level
                       description of the sampling/testing procedure to validate the search
                       method.

         3.     If the Parties are unable to agree upon a means by which the Producing
                Party can provide assurances of the reasonableness of its discovery efforts,
                the Parties will submit the dispute to the Court in the form of a joint
                discovery letter.


                                          8
     Case
  Case
  Case      3:23-cv-00782-YY Document
       2:16-md-02740-KDE-MBN
        2:16-md-02740-KDE-MBN         6-8577-1
                               Document
                                Document    Filed Filed
                                          611-1   05/22/23   PagePage
                                                  Filed06/23/17
                                                        07/06/17  10 of10
                                                                 Page   921
                                                                          of
                                                                           of20
                                                                             21




       H.     A Producing Party may also utilize search methodology to identify and redact
              certain documents and page ranges that otherwise require HIPAA redactions,
              redactions of personally protected information (e.g. tax identification numbers or
              materials that would permit identity theft) or redactions pursuant to 21 C.F.R. §
              314.430(e) and 21 C.F.R. § 20.63(f) for documents produced.

       I.     If a Party contends that the production of materials sought from one or more
              sources are outside the scope of Rule 26(b)(1), the Parties agree, if necessary, to
              meet and confer to attempt to resolve the issue. Nothing in this Protocol shall
              prevent a party from seeking the Court’s intervention with respect to any such
              issue if the Parties are unable to resolve it themselves or from preventing any
              other Party from opposing any relief sought.

VI.    TIMING OF DISCOVERY

Discovery of documents shall proceed in the following fashion:

       A.     After receiving requests for document production and upon reaching agreement
              regarding the scope, the Parties shall search and review their documents and
              produce responsive electronic documents on a rolling basis, until such production
              is complete.

       B.     The Parties will meet and confer at least monthly regarding production status.

VII.   FORMAT OF PRODUCTION

The Parties will produce ESI in accordance with the following protocol:

       A.     Non-Database ESI.

              1.      All non-database ESI shall be produced in TIFF format. All TIFF
                      formatted documents will be single page, black and white, Group 4 TIFF
                      at 300 X 300 dpi resolution and 8½ X 11 inch page size, except for
                      documents requiring different resolution or page size. Logically unitized
                      document-level PDF may also be acceptable subject to the Parties meeting
                      and conferring provided that agreed upon metadata fields (see paragraph
                      VII.A.8), if they exist, and associated extracted text (see paragraph
                      VII.A.4) are included in the production.

              2.      A unitization file, in standard format (e.g., Opticon, Summation DII)
                      showing the Bates number of each page, the appropriate unitization of the
                      documents and the entire family range, will accompany each TIFF
                      document.
                                               9
CaseCase 3:23-cv-00782-YY Document
     2:16-md-02740-KDE-MBN         6-8611-1
                            Document    Filed Filed
                                      577-1   05/22/23    PagePage
                                                    06/23/17
                                                    07/06/17   11 of10
                                                                     21of 20
                                                                    11    21




          3.    A delimited text file that contains agreed upon metadata fields (see
                paragraph VII.A.8), if those fields exist, and associated extracted (or OCR
                for paper-based or redacted documents) text (see paragraph VII.A.4)
                should also be produced and use the following delimiters:

                       Field Separator, ASCII character 020: ““
                       Quote Character, ASCII character 254 “þ”
                       Multi-Entry Delimiter, ASCII character 059: “;”

                If the Producing Party requests alternate delimiters, the Parties shall agree
                on alternate delimiters.

          4.    Extracted, searchable full text will be produced for each non-redacted
                electronic document having extractable text. Each extracted full text file
                will be named according to the first Bates number of the corresponding
                electronic document.

          5.    Each TIFF or .TIF version of an unredacted electronic document will be
                created directly from the corresponding native file.

          6.    Unredacted spreadsheets.

                a.     All unredacted spreadsheets should be produced in their native
                       format and in the order that they were stored in the ordinary course
                       of business, i.e. emails that attach spreadsheets should not be
                       separated from each other and should be linked using the
                       Attachment Range fields.

                b.     The file name should match the Bates number assigned to the file.

                c.     The extractable metadata and text should be produced in the same
                       manner as other documents that originated in electronic form.

                d.     A slipsheet with the words “File Produced Natively” with Bates
                       number and Confidentiality designation shall be placed to mark
                       where the original Native file was found in the normal course.

                e.     The Parties agree to work out a future protocol governing the use
                       and format of documents produced pursuant to paragraph VII.A.6
                       at trial, depositions or hearings (such as converting to tiff images in
                       accordance with paragraphs VII.A.1-5).

                                         10
CaseCase 3:23-cv-00782-YY Document
     2:16-md-02740-KDE-MBN         6-8611-1
                            Document    Filed Filed
                                      577-1   05/22/23    PagePage
                                                    06/23/17
                                                    07/06/17   12 of11
                                                                     21of 20
                                                                    12    21




          7.    Redacted spreadsheets.

                a.     For redacted spreadsheet files (e.g., Microsoft Excel), TIFF or .TIF
                       versions, if produced, shall include all hidden rows, cells,
                       worksheets as well as any headers or footers associated with the
                       spreadsheet file.

                b.     A Party may elect to produce spreadsheet files as native rather than
                       image files. In the event that a Producing Party has native
                       redaction capability or seeks to remove a column or row from a
                       spreadsheet for redaction purposes, the Producing Party will
                       identify the natively redacted spreadsheet as redacted in the
                       associated “Redacted” field.

          8.    Metadata.

                a.     The following metadata fields associated with each electronic
                       document will be produced, to the extent they exist as electronic
                       metadata associated with the original electronic documents. No
                       Party will have the obligation to manually generate information to
                       populate these fields.

                b.     The following fields will be produced by the Parties:

     FIELD              FORMAT                          DESCRIPTION
BEGDOC               Fixed-Length        Beginning Bates number
                     Text
ENDDOC               Fixed-Length        Ending Bates number
                     Text
BEGATTACH            Fixed-Length        Beginning of family range, first number of first
                     Text                family member
ENDATTACH            Fixed-Length        End of family range, last number of last family
                     Text                member
CUSTODIAN            Multiple Choice     Custodian name
ALL CUSTODIANS       Multiple Choice     If global deduplication is used, this field will
                                         be populated with the custodians who also had
                                         a copy of this document or document family,
                                         but which is not being produced because of
                                         deduplication.
DATE_CREATION        Date (date:time)    Creation Date File System

DATESENT             Date (date:time)    Sent Date for email
                                         11
CaseCase 3:23-cv-00782-YY Document
     2:16-md-02740-KDE-MBN         6-8611-1
                            Document    Filed Filed
                                      577-1   05/22/23    PagePage
                                                    06/23/17
                                                    07/06/17   13 of12
                                                                     21of 20
                                                                    13    21




Date Received             Date (date:time)   Received Date for email
DATELASTMOD               Date (date:time)   Last Modified File System

FILEEXT                   Fixed-Length       File Extension
                          Text
FILENAME                  Fixed-Length       File Name (efiles)
                          Text
File Size                 Number field       File size, in megabytes
HASHVALUE                 Fixed-Length       Algorithmic based Hash Value generated by
                          Text               accepted method such as MD5 or SHA1 (or
                                             CONTROL_ID for scanned paper)
Original File Path        Long Text          Location where the document was kept in the
                                             normal course of business
Email Folder Path         Long Text          Location where the email was kept in the
                                             normal course of business
FILEPATH                  Fixed-Length       Relative Path to any natively produced
                          Text               documents.
BCC                       Long Text          BCC Recipient Combined
CC                        Long Text          CC Recipient Combined
FROM                      Fixed-Length       Sender Combined
                          Text
SUBJECT                   Fixed-Length       Subject
                          Text
TO                        Long Text          Recipient Combined
PAGECOUNT                 Whole Number       Page count
CONFIDENTIALITY           Fixed-Length       Confidentiality
                          Text
Redacted                  Yes or No          Indicates whether the file has been redacted
Conversation Index        Fixed-Length       The conversation index value for email (e.g.
                          Text               MS Exchange message id)
Embedded                  Yes or No          File embedded in native file

                     c.     The Parties agree that system metadata dates may or may not be
                            accurate, but Parties will do their best to preserve accuracy of
                            system metadata (e.g. forensics are not required).

                     d.     A Producing Party may withhold metadata fields for redacted
                            documents.

            9.       Embedded Files.


                                             12
CaseCase 3:23-cv-00782-YY Document
     2:16-md-02740-KDE-MBN         6-8611-1
                            Document    Filed Filed
                                      577-1   05/22/23    PagePage
                                                    06/23/17
                                                    07/06/17   14 of13
                                                                     21of 20
                                                                    14    21




                 a.             If a document has another responsive file embedded in it, (e.g.,
                                PowerPoint with a spreadsheet in it), the Producing Party may
                                extract and produce the documents as a separate document and
                                treat such documents as attachments to the document.

                 b.             The Producing Party may also choose to have the Requesting Party
                                request that the embedded file be produced as a standalone file
                                pursuant to the following protocol:

                           i.          The Requesting Party shall provide a list referencing, by
                                       Bates numbers, files they believe contain responsive
                                       embedded files.

                          ii.          The Producing Party shall have 10 days to produce the
                                       requested embedded files as standalone files, or respond in
                                       writing why it will not produce the requested files.

                      iii.             A Party will have no obligation to produce any embedded
                                       file as a standalone file if the embedded file was not
                                       processed as a standalone file through the normal processes
                                       of the Producing Party’s vendor.

                      iv.              The Parties will not object to the authenticity or
                                       admissibility of an embedded document produced pursuant
                                       to paragraph VII.A.9.b on grounds relating to the process
                                       used to produce the embedded document. All other
                                       objections shall be preserved, including but not limited to
                                       completeness.

                          v.           The Producing Party need not produce embedded files as
                                       separate files that do not have user created content,
                                       including but not limited to irrelevant inline image files
                                       (e.g., signatures and company logos).

   B.     Native Files.

          1.     The Parties agree that documents will be produced in the imaged format as
                 set forth in paragraph VII.A and that no Requesting Party may request or
                 seek to compel the production of ESI in native format on a wholesale
                 basis, with the exception of spreadsheets as detailed in paragraphs VII.A.6
                 and 7, although the Producing Party retains the option to produce ESI in
                 native file format.

                                                13
CaseCase 3:23-cv-00782-YY Document
     2:16-md-02740-KDE-MBN         6-8611-1
                            Document    Filed Filed
                                      577-1   05/22/23    PagePage
                                                    06/23/17
                                                    07/06/17   15 of14
                                                                     21of 20
                                                                    15    21




          2.    Subsequent to the production of the imaged documents, however, and
                according to the following protocol, a Requesting Party may request for
                good cause from a Producing Party that certain imaged files be produced
                in native format because the files are not reasonably usable in an imaged
                form.

                a.         The Requesting Party shall provide a list of Bates numbers of the
                           imaged documents sought to be produced in native file format.

                b.         The Producing Party shall have 10 days to produce the native files
                           previously identified as not reasonably usable, or it may object to
                           the demand as unreasonable as follows:

                      i.          Within 10 days of receiving a request to produce native
                                  files, the Producing Party will respond in writing, setting
                                  forth its objection(s) to the production of the files.

                     ii.          The Parties will meet and confer regarding the request and
                                  corresponding objection(s), and if the Parties are unable to
                                  agree as to the production of such files in native format
                                  within 10 days of submission of the Responding Party’s
                                  objection(s), the Parties will submit the matter to the Court.

                c.         Any produced native files will be assigned a unique file name and
                           hash value and will include a cross reference to the Bates number it
                           was originally produced with.

   C.     Production Of Documents Collected as Paper. For documents that have been
          collected in paper format, the same specifications should be used as the
          production of ESI in paragraph VII.A with the following clarifications:

          1.    A delimited text file that contains available fielded data should also be
                included and at a minimum include Beginning Bates Number, Ending
                Bates Number, Custodian and Number of Pages.

          2.    To the extent that documents have been run through an Optical Character
                Recognition (OCR) Software in the course of reviewing the documents for
                production, full text should also be delivered for each document. Text
                should be delivered on a document level in an appropriately formatted text
                file (.txt) that is named to match the first Bates number of the document.

          3.    A text cross reference load file should also be included with the
                production delivery that lists the beginning Bates number of the document
                                            14
 CaseCase 3:23-cv-00782-YY Document
      2:16-md-02740-KDE-MBN         6-8611-1
                             Document    Filed Filed
                                       577-1   05/22/23    PagePage
                                                     06/23/17
                                                     07/06/17   16 of15
                                                                      21of 20
                                                                     16    21




                  and the relative path to the text file for that document on the production
                  media.

           4.     A Producing Party will make best efforts to unitize documents collected as
                  paper prior to scanning. However, the Parties agree that legacy scanned
                  documents in electronic form scanned prior to this litigation will be
                  unitized as they are collected in the ordinary course of business.

     D.    Production of Databases and Other Structured Data.

           1.     Generally, relevant ESI stored in databases should be produced in a
                  mutually agreeable data exchange format.

           2.     The Parties will meet and confer to address the production and production
                  format of any responsive data contained in a database or other structured
                  data source. If ESI in commercial or proprietary database format can be
                  produced in an already existing and reasonably available report form, the
                  Parties will produce the information in such a report form, in the
                  reasonably usable TIFF-image format described in paragraph VII.A. If an
                  existing report form is not reasonably available, the Parties will meet and
                  confer to attempt to identify a mutually agreeable report form.

           3.     Nothing herein shall obligate a Producing Party to custom reporting. The
                  Parties shall meet and confer to discuss the associated cost and
                  proportionality of any custom reporting.

     E.    Other. The Parties share a desire to ensure that ESI is produced in an acceptable,
           searchable format. The Parties recognize that certain, limited ESI may not be
           amenable to the proposed technical specifications. The Parties will meet and
           confer in good faith to reach agreement regarding these issues and the appropriate
           form of production, and will seek Court intervention if necessary.

VIII. DE-DUPLICATION

     A.    De-Duplication and Near De-Duplication.

           1.     Parties may de-duplicate globally. If Parties de-duplicate globally, it is
                  agreed that for each production, an updated metadata overlay file will be
                  produced with “All Custodians” data provided as detailed in paragraph
                  VII.A.8.b.




                                           15
CaseCase 3:23-cv-00782-YY Document
     2:16-md-02740-KDE-MBN         6-8611-1
                            Document    Filed Filed
                                      577-1   05/22/23    PagePage
                                                    06/23/17
                                                    07/06/17   17 of16
                                                                     21of 20
                                                                    17    21




          2.    The Parties agree that an e-mail that includes content in the “bcc” or other
                blind copy field shall not be treated as a duplicate of an otherwise identical
                e-mail that does not include content in the “bcc” or other blind copy field.

          3.    The Parties also agree that the use of near-de-duplication protocols can
                reduce the cost of the review and production of ESI.

          4.    A Party may also de-duplicate “near duplicate” email threads as follows:

                a.     In an email thread, only the final-in-time document need be
                       produced, provided that:

                       b.      All previous emails in the thread are contained within the
                               final message.

                       c.      The software used to identify these “near-duplicate”
                               threads is able to identify any differences to the thread such
                               as changes in recipients (e.g., side threads, subject line
                               changes), dates, selective deletion of previous thread
                               content by sender, etc. To the extent such differences exist,
                               documents with such differences shall be produced.

                       d.      Where a prior email contains an attachment, that email and
                               attachment shall not be removed as a “near-duplicate.”

          5.    To the extent that deduplication is used, the Parties expressly agree that a
                document produced from one custodian’s file but not produced from
                another custodian’s file as a result of deduplication will nonetheless be
                deemed as if produced from that other custodian’s file for purposes of
                deposition, interrogatory, request to admit and/or trial.

   B.     E-mail Threads & Attachments.

          1.    Producing Party may produce e-mail solely as part of an inclusive e-mail
                thread, even though such e-mail were transmitted by themselves or as part
                of a non-inclusive shorter e-mail thread, provided that any otherwise
                duplicate e-mail thread having a previous e-mail in the thread deleted or
                modified will be identified as a separate inclusive e-mail.

          2.    Requesting Party agrees that Producing Party may produce e-mail
                messages only as part of an e-mail chain, provided that:


                                          16
  CaseCase 3:23-cv-00782-YY Document
       2:16-md-02740-KDE-MBN         6-8611-1
                              Document    Filed Filed
                                        577-1   05/22/23    PagePage
                                                      06/23/17
                                                      07/06/17   18 of17
                                                                       21of 20
                                                                      18    21




                   a.     Producing Party will make reasonable efforts to correct any errors
                          that occur as part of its efforts to produce e-mail chains, as
                          described above, including but not limited to incomplete
                          production of attachments.

                   b.     If any issues arise from Producing Party’s production of e-mail
                          chains, even if not strictly production “errors,” Producing Party
                          and the Requesting Party will meet and confer in good faith to
                          resolve or address such issues.

                   c.     If Producing Party wishes to proceed with the production of e-mail
                          messages only as part of an e-mail chain, as described above, the
                          Requesting Party and Producing Party will meet and confer to
                          attempt to resolve the issue. If Producing Party and the Requesting
                          Party cannot resolve the issue, the Parties may seek relief.

            3.     E-mails (with or without attachments) may be introduced into evidence as
                   separate documents without other e-mails or attachments in the e-mail
                   chain or with other e-mails or attachments in the chain redacted:

                   a.     Without an objection based on authenticity or admissibility on the
                          grounds that the e-mails or attachments have been removed from
                          an e-mail chain in the process of producing ESI; and

                   b.     Without prejudice to an objection based on Federal Rule of
                          Evidence (FRE) 106 that additional documents or e-mails should
                          be admitted in evidence as the remainder of or related writings or
                          statements.

                   The Parties reserve all other objections to the relevance, authenticity or
                   admissibility of ESI.

IX.   PRIVILEGE AND REDACTIONS

      A.    Privileged Information and Attorney Work Product. Electronic documents that
            contain privileged information or attorney work product shall be returned or
            destroyed if they reasonably appear to have been inadvertently produced or if
            there is notice of the inadvertent production. The Parties will meet and confer to
            the extent there is a disagreement on the privileged nature of the document.
            Otherwise, all copies shall be returned or destroyed by the Requesting Party. To
            the extent that there is a conflict of law in regards to the Requesting Party’s
            obligation to return or destroy privileged documents, the law most favorable to

                                            17
CaseCase 3:23-cv-00782-YY Document
     2:16-md-02740-KDE-MBN         6-8611-1
                            Document    Filed Filed
                                      577-1   05/22/23    PagePage
                                                    06/23/17
                                                    07/06/17   19 of18
                                                                     21of 20
                                                                    19    21




          the inadvertent Producing Party shall apply. Nothing herein will prevent a
          receiving Party’s right to object to the privileged nature of the document.

   B.     Redactions.

          1.     The Parties need not log redacted documents on a privilege log. The
                 privilege designation will be available on the face of the document. A
                 Requesting Party may request additional information if the nature of the
                 privilege is not apparent on the face of the document.

          2.     A Producing Party may redact ESI that the Producing Party claims is
                 subject to attorney client privilege, work product protection, contains
                 information that relates to other products, or any ESI for which there is a
                 legal prohibition against disclosure.

          3.     The Producing Party shall mark each redaction with the bases for each
                 redaction (e.g., other products, privilege).

          4.     The Producing Party shall preserve an un-redacted version of the item.

   C.     Claims of Privilege and Privilege Log.

          1.     The Producing Party must furnish a log of all documents withheld from
                 production on the basis of attorney-client or work-product privilege
                 (“Privilege Log”) within seventy-five (75) days. To the extent a Producing
                 Party needs more time, the Parties will meet and confer.

          2.     Consistent with Fed. R.Civ. P. 26(b)(5), the Producing Party’s Privilege
                 Log will contain the following information:

                 a.     Date of document or communication (including month, day, and
                        year)
                 b.     Type of document
                 c.     Author of document
                 d.     Sender of document (if different from author), including email
                        address
                 e.     Recipient names (including email addresses)
                 f.     CC names (including email addresses)
                 g.     BCC names (including email addresses)
                 h.     Bates range of the privileged documents
                 i.     Indication of the privilege
                 j.     File name
                 k.     If produced, family member designation within the production
                                          18
     CaseCase 3:23-cv-00782-YY Document
          2:16-md-02740-KDE-MBN         6-8611-1
                                 Document    Filed Filed
                                           577-1   05/22/23    PagePage
                                                         06/23/17
                                                         07/06/17   20 of19
                                                                          21of 20
                                                                         20    21




                      l.      A description of the subject matter of the document or
                              communication with information sufficient to demonstrate the
                              existence of a privilege

               3.     A Party need only log the topmost e-mail in a thread so long as the
                      description of the subject matter includes enough information sufficient to
                      demonstrate the privilege.

               4.     To the extent a Party seeks to use categorical logs in lieu of providing the
                      information above, the Producing Party will initiate a meet and confer
                      with the Requesting Party. However, documents comprising attorney-
                      client communications and/or attorney work product relating to the
                      litigation and dated after the start of the litigation need not be included on
                      a privilege log.

               5.     To the extent available, individuals should be identified with enough
                      information to identify why the privilege attaches, such as name and job
                      title or other justification for assertion of privilege.

               6.     If the Requesting Party objects to a document (or part of it) being withheld
                      or redacted as privileged, it shall meet and confer with the Producing
                      Party. Should the Parties not be able to agree to a resolution of the
                      dispute, the Requesting Party shall submit the dispute to the Court.

X.      FEDERAL RULE OF EVIDENCE 502.

        A.     The production of privileged or work-product protected documents, ESI or other
               information, whether inadvertent or otherwise, is not a waiver of the privilege or
               protection from discovery in this case or in any other federal proceeding.

        B.     This ESI Protocol shall be interpreted to provide the maximum protection allowed
               by Federal Rule of Evidence (FRE) 502 and shall be enforceable and granted full
               faith and credit in all other state and federal proceedings by 28 U.S. Code § 1738.
               In the event of any subsequent conflict of law, the law that is most protective of
               privilege and work product shall apply.

        C.     Nothing contained herein is intended to or shall serve to limit a Party’s right to
               conduct a review of documents, ESI or information (including metadata) for
               relevance, responsiveness and/or segregation of privileged and/or protected
               information before production.

XI.     COSTS

                                                19
  CaseCase 3:23-cv-00782-YY Document
       2:16-md-02740-KDE-MBN         6-8611-1
                              Document    Filed Filed
                                        577-1   05/22/23    PagePage
                                                      06/23/17
                                                      07/06/17   21 of20
                                                                       21of 20
                                                                      21    21




The Parties agree that the Producing Party bears the burden of discovery costs absent agreement
or court order pursuant to Rule 26(c)(1)(B).

XII.   DESTRUCTION AND RETURN OF ESI

       A.     Within sixty (60) days after dismissal or entry of final judgment not subject to
              further appeal, all discovery materials produced must be either destroyed or
              returned to the Producing Party.

       B.     If destroyed, an affidavit by the Requesting Party with an attached certificate of
              destruction must be produced to the Producing Party no later than 30 days after
              the termination of this MDL. Failure to provide the affidavit and certificate of
              destruction shall be deemed as a violation of the Court’s order.


                                       SO ORDERED:

                                        _____________________________________________
                                                  HON. MICHAEL B. NORTH
                                             UNITED STATES MAGISTRATE JUDGE




                                              20
